    Case 2:20-cv-02794-SHM-tmp Document 57 Filed 03/25/24 Page 1 of 1                       PageID 1048




                                   UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TENNESSEE
                                           Western Division

Wendy R. Oliver, Clerk                                                                           Deputy-in-Charge
242 Federal Building                                                                    U.S. Courthouse, Room 262
167 N. Main Street                                                                      111 South Highland Avenue
Memphis, Tennessee 38103                                                                 Jackson, Tennessee 38301
(901) 495-1200                                                                                      (731) 421-9200



                                      NOTICE OF RE-SETTING
                     Before Judge Samuel H. Mays, Jr., United States District Judge


                                                March 25, 2024


      Re:     20-2794-SHM/tmp
              FedEx Corporation and Subsidiaries v. United States of America


      Dear Sir/Madam:

             A TELEPHONIC STATUS CONFERENCE has been RESET before Judge Samuel H.
      Mays, Jr. on WEDNESDAY, MAY 1, 2024 at 2:15 P.M. (CST).

              To participate in the conference, counsel should call in to the following conference line:

              Dial-in Number:       1-877-848-7030
              Access Code:          5600724#
              Participant Password: 2794#

              If you have any questions, please contact me at the number provided below or contact
      Mr. Jairo Mendez, the Court’s case manager, at 901-495-1217 or
      Jairo_Mendez@tnwd.uscourts.gov.


                                                     Sincerely,

                                                     /s/ Daphne E. Rankin
                                                     Daphne E. Rankin, Chambers Paralegal
                                                     901-495-1283
                                                     E-mail: Daphne_Rankin@tnwd.uscourts.gov
